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                             UNITED STATES DISTRICT COURT

  SEALED                   SOUTHERN DISTRICT OF CALIFORNIA



                         ARREST ON OUT-OF-DISTRICT OFFENSE

                                                        CASE NUMBER:
                                                                          '21 MJ04227
                                                                         ----------
         The person charged as David Alfonso RODRIGUEZ now appears before this United

States District Court for an initial appearance as a result of the following charges having been

filed in the United States District Court for the Northern District of Illinois Eastern Division

with: Money Laundering, in violation of 18 U.S.C. Sections 1956(a)(l)(B)(i) and (2).

         The charging documents and warrant for the arrest of the defendant which was issu~d by

the above United States District Court are attached hereto.

         I hereby swear under penalty of perjury that the foregoing is true and correct to the best of

my knowledge, information, and belief.


                                                                 DATED:      1¢1I/-zc2j
                                                                             I




                                                                                     Greg Kaplan
                                                                                    Special Agent
                                                                  Homeland Security Investigations

Reviewed and Approved

Dated:    (0-~l-7')

ll!fch?/wi
Assistant United States Attorney
               Case 3:21-mj-04227-KSC Document 1 Filed 10/21/21 PageID.2 Page 2 of 11
ILND 442 (Rev. 11/1 6) Arrest Warrant




                                             UNITED STATES DISTRICT COURT
                                                                     for the

                                               Northern District of Illinois Eastern Division

                                                                 )
                        United States of America                 )     Case No. 1:21-cr-00591-5
                                                                 )
                                        v.                       )
                                                                 )
                          David Alfonso Rodriguez                )
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                                                        BENCH WARRANT

To:         Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring David Alfonso Rodriguez before a United States magistrate judge
without unnecessary delay, who is accused of an offense or violation based on the following document filed with the court:

l:8]Indictment• superseding Indictment • Information • Superseding Information Ocomplaint
• Probation Violation Petition • Supervised Release Violation Petition • Violation Notice [8]Order of the Court
This offense is briefly described as fo11ows:

Offense: Money Laundering-Controlled Substance -Sell/Distr/Disp                        Title: 18       U.S.C: l 956(a)(l )(B)(i)




         THOMAS G. BRUTON, CLERK


                                                                                                October 20, 2021


         (By) DEPUTY CLERK                                                                      DATE
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ILND 442 (Rev. I J/16) Arrest Warrant page 2




                                               UNITED STATES DISTRICT COURT
                                                                for the
                                                       Northern District of Illinois

                                                      Case No. l:21-cr-00591-5


                                                                Return

         This warrant was received on (date) _ __ _ _ __ , the person was arrested on (date) _ __ _ _ _ __

 at (dtyand state) _ __ _ _ _ _ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __ _

 Date: _ _ _ _ _ __
                                                                                       Arresting officer's signature


                                                                                         Printed name and title
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ILND 442 (Rev. 11 / 16) Arrest Warrant page 3

                         This page contains personal identifiers provided for law-enforcement use only and
                         therefore should not be filed in court with the executed warrant unless under seal.

                                                  (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
                                        -------------------------------
                     ------------------------------------
Last known residence:
                        ----------------------------------
Prior addresses to which defendant/offender may still have ties: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Last known employment:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Last known telephone numbers:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Place of birth:
                   -----------------
Date of birth:
                   -----------------
Social Security number: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Height:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Weight: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Sex:                                                               Race: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Hair:_____________________Eyes: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Scars, tattoos. other distinguishing marks: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




History of violence, weapons~ drug use: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Known family, friends, and other associates (name. relation. address. phone number) :_ _ _ _ _ _ _ _ _ _ _ _ __


FBI number: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Complete description of auto:,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Investigative agency and address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable): _ _ _ __


Date of last contact with pretrial services or probation officer ar applicable) : _ _ _ _ _ _ _ _ _ _ _ _ _ __
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    10/19/2021
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            I
                           UNITED STATES DISTRICT COURT
CLERK,1J.S. D              NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

     UNITED STATES OF AMERICA
                                                 Case No. 21 CR 591
                  v.
                                                Violations: Title 18, United States
     MIGUEL SALINAS SALCEDO,                    Code, Sections 1956(a)(l)(B)(i) and
       also known as "Jorge Salas,"             1956(h}, and Title 21, United States
     JUAN SERNA VASQUEZ,                        Code, Section 84l(a)(l)
     ARTURO MARTINEZ,
     GIORGIO PONCE, and                         UNDER SEAL
     DAVID ALFONSO RODRIGUEZ


                                        COUNT ONE
                                                                    JUDGE COLEMAN
                                                                  MAGISTRATE JUDGE KIM
           The SPECIAL MAY 2021 GRAND JURY charges:

           1.    Beginning no later than in or about April 2019, and continuing until at

   least on or about September 22, 2021, in the Northern District of Illinois, Eastern

   Division, and elsewhere,

                              MIGUEL SALINAS SALCEDO,
                               also known as "Jorge Salas,"

   defendant herein, did conspire with JUAN SERNA VASQUEZ, ARTURO

   MARTINEZ, GIORGIO PONCE, DAVID ALFONSO RODRIGUEZ, and with others

   known and unknown to the Grand Jury, to commit offenses in violation of Title -18,

   United States Code, Section 1956, namely, to knowingly conduct and attempt to

   conduct a financial transaction affecting interstate and foreign commerce, which

   involved the proceeds of a specified unlawful activity, that is the felonious buying and

   selling and otherwise dealing in a controlled substance, knowing that the transaction

   was designed in whole and in part to conceal and disguise the nature, location, source,
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SALCEDO associates (the "drug proceeds collectors"), knowing that the bulk cash

represented the proceeds of some form of unlawful activity. Unbek~ownst to

SALINAS SALCEDO and the other co-coconspirators at the time, several of the U.S.-

based drug proceeds collectors were law enforcement agents working in an

undercover capacity.

      4.     It was further part of the conspiracy that, to facilitate the money pickups
                                                       I


between the money couriers and drug proceeds collectors, MIGUEL SALINAS

SALCEDO directed, and caused others to direct, money couriers, including JUAN

SERNA VASQUEZ, ARTURO MARTINEZ, GIORGIO PONCE, and DAVID

ALFONSO RODRIGUEZ, to use the same code phrases, code numbers, and particula1·

telephone numbers that the drug proceeds collectors previously provided to SALINAS

SALCEDO, knowing the transactions were designed to conceal the nature, location,

source, ownership, and control of the cash drug proceeds the money couriers delivered

to the drug money collectors.

      5.     It was further part of the conspiracy that money couriers, including

JUAN SERNA VASQUEZ, ARTURO MARTINEZ, GIORGIO PONCE, and DAVID

ALFONSO RODRIGUEZ, delivered the bulk cash drug proceeds to the drug proceeds

collectors during brief meetings, including in vehicles and in public parking lots,

knowing the transactions were designed to conceal the nature, location, source,

ownership, and control of the drug proceeds.




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                                    COUNT TWO

       The SPECIAL MAY 2021 GRAND JURY further charges:

       On or about July 31, 2020, at Bolingbrook, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                          MIGUEL SALINAS SALCEDO,
                          also known as "Jorge Salas," and
                             JUAN SERNA VASQUEZ,

defendants herein, did knowingly conduct and attempt to conduct a financial

transaction affecting interstate commerce, namely, the transfer and delivery of

approximately $150,000 in United States currency, which involved the proceeds of a

specified unlawful activity, that is, the felonious buying and selling and otherwise

dealing in a controlled substance, knowing that the transaction was designed in

whole and in part to conceal and disguise, the nature, location, source, ownership,

and control, of the proceeds of said specified unlawful activity and that while

conducting and attempting to conduct such financial transaction knew that the

property involved in the financial transaction represented the proceeds of some form

of unlawful activity;

      In violation of Title 18, United States Code, Sections 1956(a)(l)(B)(i) and 2.




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                                   COUNT FOUR

       The SPECIAL MAY 2021 GRAND JURY further charges:

       On or about August 6, 2020, at New Lenox, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                          MIGUEL SALINAS SALCEDO,
                          also known as "Jorge Salas," and
                             JUAN SERNA VASQUEZ,

defendants herein, did knowingly attempt to conduct a financial transaction affecting

interstate and foreign commerce, namely, the transfer and delivery of approximately

$194,300 in United States currency, which involved the proceeds of a specified

unlawful activity, that is, the felonious buying and selling and otherwise dealing in a

controlled substance, knowing that the transaction was designed in whole and in part

to conceal and disguise, the nature, location, source, ownership, and control, of the

proceeds of said specified unlawful activity and that while conducting and attempting

to conduct such financial transaction knew that the property involved in the financial

transaction represented the proceeds of some form of unlawful activity;

      In violation of Title 18, United States Code, Sections 1956(a)(l)(B)(i) and 2.




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                                     COUNT SIX

      The SPECIAL MAY 2021 GRAND JURY further charges:

      On or about November 9, 2020, at Plano, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                 GIORGIO PONCE,

defendant herein, did knowingly and intentionally possess with intent to distribute a

controlled substance, namely, 500 grams or more of a mixture and substance

containing a detectable amount of cocaine, a Schedule II Controlled Substance, and

a quantity of a mixture and substance containing a detectable amount of marijuana,

a Schedule I Controlled Substance.

      In violation of Title 21, United States Code, Section 841(a)(l).




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                                   COUNT EIGHT

       The SPECIAL MAY 2021 GRAND JURY further charges:

       On or about September 20, 2021, at Hillside, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                           MIGUEL SALINAS SALCEDO,
                           also known as "Jorge Salas," and
                          DAVID ALFONSO RODRIGUEZ,

defendants herein, did knowingly conduct and attempt to conduct a financial

transaction affecting interstate commerce, namely, the transfer and delivery of

approximately $200,000 in United States currency, which involved the proceeds of a

specified unlawful activity, that is, the felonious buying and selling and otherwise

dealing in a controlled substance, knowing that the transaction was designed in

whole an~ in part to conceal and disguise the nature, location, source, ownership, and

control, of the proceeds of said specified unlawful activity and that while conducting

and attempting to conduct such financial transaction knew that the property involved

in the :financial transaction represented the proceeds of some form of unlawful

activity;

       In violation of Title 18, United States Code, Sections 1956(a)(l)(B)(i) and 2.




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       4.     If any of the property described above, as a result of any act or omission

 by defendant: cannot be located upon the exercise of due diligence; has been

 transferred or sold to, or deposited with, a third party; has been placed beyond the

 jurisdiction of the Court; has been substantially diminished in value; or has been

 commingled with other property which cannot be divided without difficulty, -the

 United States of America shall be entitled to forfeiture of substitute property, as

 provided by Title 21, United States, Code Section 853(p) and Title 18, United States

 Code, Section 982(b)(2).

                                                A TRUE BILL:



                                                FOREPERSON


 Erika L. Csicsila on behalf of the
 UNITED STATES A'ITORNEY




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